                    Case 4:08-cr-00315-RSB-CLR Document 1519 Filed 03/16/15 Page 1 of 1
AO 247 (1011 1) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                               Page 1 of 2 (Page 2 Not for Public Disclosure)



                                                                 UNITED STATES DISTRICT COURT
                                                                                 for the
                                                                       Southern District of Georgia
                                                                           Savannah Division

                        United States of America                                          )
                                          V.                                              )
                                                                                              Case No; 4:08-CR-00315-30
                            Stacey I rematne Golden                                       )



                                                                                          )   USMNo: 13883-021
Date of Original Judgment:        December 11. 2009                                       ) Dennis E. Hayes
Date of Previous Amended Judgment: Not Applicable                                         ) Defendant's Attorney
(Use Late of Last .4tnended Judgment. ([any)


                                           Order Regurditig Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of         the defendant                      fl
                                                  the Director of the Bureau of Prisons      the court under 18 U.S.C.
§ 3582(c)(2) for a reduction  in the term of imprisonment  imposed   based  on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED.           FXI
             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last Judgment
             issued) of 102 months is reduced to                         time served


                                                     (Complete Paris / and II of Page 2 when motion is granted)




                                                                                                         U. 0 . DISTRICT COURT
                                                                                                         Sttflhrn Oletrict of Ga.
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                                                                                                                 Deputy Clerk




 Except as otherwise provided above, all provisions of the judgment dated                            December ii, 2009, shall remain in effect.
 IT IS SO ORDERED.

 Order Date:                                        Z       '6

                                                                                               William T. Moore, Jr.
                                                                                               Judge, U.S. District Court
 Effective Date: November 1, 201 5                                                             Southern District of Georgia
                            (([different fro,n order date)                                                      Printed name and title
